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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS

SAMMY LEE WILDER, JR.                            )
                                                 )
                      Plaintiff,                 )
                                                 )
               v.                                )   No.    22 C 50444
                                                 )
BENNY RIVERA, MALIK ROBERSON,                    )
TRICIA CORRIGAN, APRIL JESSEN,                   )
KENTON LEE, MITCHELL KING, and                   )   Judge Rebecca R. Pallmeyer
AMERICAN SALDANA                                 )
                                                 )
                      Defendants.                )

                            MEMORANDUM OPINION AND ORDER

       Plaintiff Sammy Lee Wilder suffered a brain bleed in a car accident in December 2021.

Following his discharge from Advocate Sherman Hospital in Elgin, Illinois, Wilder was immediately

arrested by the Elgin Police Department pursuant to an outstanding warrant and transported to

Winnebago County Jail (“WCJ”). During his incarceration at WCJ, Plaintiff alleges that the

correctional staff and medical staff ignored his repeated requests for medical attention, resulting

in his suffering a stroke while in custody. He seeks relief under 42 U.S.C. § 1983 and state tort

law against the correctional officers—Benny Rivera and Malik Roberson (collectively

“Correctional Defendants”)—as well as the medical staff—Dr. Kenton Lee, Dr. Mitchell King, April

Jessen (registered nurse), Tricia Corrigan (nurse practitioner), and American Saldana (nurse

practitioner) (collectively “Medical Defendants”)—stationed at WCJ. Both sets of Defendants

have filed dispositive motions. The Medical Defendants move to dismiss Plaintiff’s claims against

them (Counts II and III) as barred by the statute of limitations [84]. The Correctional Defendants

seek summary judgment [90] on the claim against them (Count I) on failure-to-exhaust grounds.

For the following reasons, the Defendants’ motions are granted.
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                                         BACKGROUND

I.      Factual Background

        This opinion addresses both the Medical Defendants’ motion to dismiss under Federal

Rule of Civil Procedure 12(b)(6) and the Correctional Defendants’ motion for summary judgment

under Federal Rule of Civil Procedure 56. The court ordinarily reviews the operative complaint

for the factual account in evaluating a 12(b)(6) motion, and the parties’ Local Rule 56.1 statements

of undisputed material fact in evaluating a motion for summary judgment. Here, however, the

parties base their motions on non-substantive grounds (statute of limitations and failure to

exhaust) that rest largely on undisputed facts and do not turn on the merits of Plaintiff’s

constitutional or state law claims—the court therefore will briefly provide a recitation of the

allegations as provided in Plaintiff’s fourth amended complaint [70] (“FAC”), as well as an account

of Plaintiff’s use of WCJ’s administrative remedies as contained in the Rule 56.1 statements

provided by Plaintiff [97] [102] and the Correctional Defendants [90-1].

        A.     Plaintiff’s Allegations

        On December 23, 2021, Plaintiff was injured in a motor vehicle accident and transported

to Advocate Sherman Hospital in Elgin, Illinois for treatment. (FAC ¶¶ 4–5.) 1 A CT scan taken at

the hospital revealed bleeding in the right portion of Plaintiff’s brain, and he was instructed to

undergo a follow-up scan in two to three weeks after discharge. (Id. ¶ 6.) On December 25, 2021,

Plaintiff was discharged from the hospital and arrested by the Elgin Police Department pursuant

to an outstanding warrant and then detained in the WCJ in Rockford, Illinois. (Id. ¶ 7.)       After

arriving at WCJ, Plaintiff provided the nursing staff with documentation of his prior brain bleed,

and was assured that he would receive treatment and medical attention. (Id. ¶ 8.)




        1
              As there are various errors in the numbering of paragraphs after ¶ 29 of the FAC,
for paragraphs after ¶ 29, the court will cite to both page and paragraph.

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        Two weeks later, Plaintiff used the “Medical Grievance Procedure” on his inmate tablet—

a device made available to inmates for submitting medical requests and grievances—noting that

he was suffering intense ear pain and headaches. (Id. ¶ 9.) He also made requests for medical

attention directly to two correctional officers, Defendants Roberson and Rivera, during their shifts

in his housing unit. (Id. ¶ 10.) Over the course of several weeks (the precise timeline is not

provided in the complaint) Plaintiff had multiple sick call visits with the WCJ nursing staff to discuss

his pain and need for a follow-up CT scan. He was provided with a monthly supply of Tylenol and

put on “the schedule” for a CT scan. (See id. ¶¶ 11–13.) On or around February 22, 2022, Plaintiff

was told by the nursing staff that he would no longer be scheduled for a CT scan because such

a scan “was not necessary,” though the complaint does not explain who made this decision. (Id.

¶ 14.) The night after Plaintiff was told he would not receive a CT scan, he suffered a stroke in

his sleep. (Id. ¶¶ 14–15.) When Defendant Rivera saw Plaintiff the following morning, Rivera

observed that Plaintiff was showing signs of suffering a stroke and alerted medical staff, who

checked on Plaintiff later in the day but allegedly did not treat Plaintiff and instead told him to

submit a sick call request. (Id. ¶¶ 16–17.) The following day, Plaintiff was seen by Defendant

Roberson; Plaintiff alleges that he told Roberson he had suffered a stroke, but “no medical

intervention was done.” (Id. ¶ 18.) Following a scheduled CT scan at Swedish American Hospital

on February 25, 2022, 2 WJC medical staff “rushed into [Plaintiff’s] unit . . . alerting Plaintiff that he

required emergency surgery because his latest CT scan showed that he had been suffering from

brain bleeding for approximately two months, causing the stroke he suffered two days earlier.”

(Id. ¶ 21.)




        2
               The court notes that Plaintiff’s attending a “previously scheduled” CT scan on
February 25, 2022, is inconsistent with Plaintiff’s allegation that WCJ nursing staff told him three
days earlier that the scan was not necessary.

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       B.      Plaintiff’s Grievances

       There is little dispute between Plaintiff and the Correctional Defendants concerning the

grievance procedures available at WCJ. Detainees are issued tablets shortly after they are

booked at WCJ, and there are request “kiosks” stationed in each housing unit. (Corr. Defs.’ Rule

56.1 Statement [90-1] (hereinafter “DSOF”) ¶ 34; see also Pl.’s Am. Combined Resp. to DSOF &

Rule 56.1(b)(3) Statement (hereinafter “Pl.’s Am. Resp. to DSOF”) [102] ¶ 34.) As set forth in the

“inmate handbook,” all requests for medical care, medical grievances, and general grievances

must be submitted through the tablets or the kiosks. (Id. ¶ 41.) Through either the tablet or the

kiosks, inmates can electronically submit their requests or grievances. (Id. ¶ 42.) If an inmate

submits a request or grievance relating to medical care, the request or grievance is sent directly

to the WCJ medical department, operated by the University of Illinois College of Medicine. (Id.

¶ 43.) Correctional staff do not have access to and do not review medical requests or grievances.

       Plaintiff was incarcerated at WCJ between December 28, 2021, and July 13, 2022. (Id.

¶ 45.) In this period, he submitted a total of sixteen medical requests for treatment relating to his

need for a CT scan and stroke-related symptoms. (See id. ¶¶ 46–61.) The requests are short

statements of Plaintiff’s symptoms, such as a request reading “So you guys say you cant do

something about this so I can’t walk or not going to see me tell I get my ct OK ty” on February 20,

2022, or another reading “I believed that I have had a mild stroke and you need to check me out”

on February 22, 2022. (Id. ¶¶ 53, 58.)

       On March 2, 2022, Plaintiff submitted his first and only formal medical grievance while

incarcerated at WCJ.     (Id. ¶ 62; see Pl.’s Req. and Grievance Files [90-5] at 73 (internal

pagination).) The grievance explained the circumstances of Plaintiff’s arrest following the car

accident before explaining [sic]:

       I the patient explain my serious of the follow up medical treatment with the booken
       Nurse here on the day when I the patient was being process into the to a outside
       medical cat scan. However, I sign a release medical form to[ ]get outside medical
       records d[ur]ing that time period I started to complain to the medical department
       symptoms of a stroke the patient[‘s] right side was in pain then I started to l[o]se

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           movement in my right side pertaining to my hand and legs and started to l[o]se my
           hearing and get headache all day. Now I notified the medical department and
           explain my medical condition told the medical provider I need to get cat scan
           immediately on the outside. The patient condition started to aggregate to the point
           the physical therapy providers brought the medical symptoms in their own words
           the immediate medical need for outside medical treatment. However, on February
           25th, 2021 I the patient [went] outside for a cat scan on the outside for medical
           procedure within this medical procedure patient I the patient discovered I was
           bleeding in my brain. Now [due] to the delay of not immediately response to prior
           symptoms of the patient suffer significant injury for not getting a follow-ups that is
           medical and difference and Malpract[ice].

(Id.) A member of WCJ’s staff identified as “V.K.” in the Grievance Files (the full name of this

official does not appear in the record) provided a staff response to Plaintiff’s March 2 grievance

on March 3, 2022, responding,

           Your chart shows that you were seen in clinic, examined, tested, and sent to the
           hospital for treatment. If you would like to talk about your medical care with the
           provider, please let us know and we will schedule the visit.

(Grievance Files at 73.) On March 5, 2022, Plaintiff filed an appeal of the staff response to his

March 2 grievance. (Id. at 65; DSOF ¶ 63.) The appeal stated in relevant part:

           The medical department had the information that stated I need a cat scan within
           two weeks of be[ing] interview[ed] by the book[ing] jail nurse that g[a]ve the
           appropriate [] assessment for each inmate that being incarcerated her in the jail.
           However, it took two month[s] up to the time period after the physical therapy notice
           the patient had a stroke for the medical department to acknowledge the patient
           medical condition . . . [I] had to be rush[ed] into surgery because I was bleeding
           for two months in my brain . . . I will be asking to be financial[ly] compensated for
           medical indifference. So in the mean time I the patient is requesting . . . the
           appropriate medical treatment pl[a]ns.

(Id.) On March 12, 2022, a staff member identified as “T.C.” responded to Plaintiff’s appeal,

writing:

           Your records were requested and reviewed once received. Your repeat scan was
           scheduled once reviewed and seen in clinic. You are receiving appropriate care
           at this time. If you do not believe you are please submit a request to be seen in
           clinic.

(Id.) There is no evidence of any of WCJ’s medical or correctional staff taking further steps

beyond the staff response provided in the grievance records.




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II.      Procedural History

         Plaintiff filed his original complaint [1] through counsel on December 22, 2022, naming

Sheriff Caruana (in charge of correctional officers at WCJ) and “unknown correctional officers” as

defendants. (See Comp. at 1.) He filed his first amended complaint [11] on March 4, 2023, adding

a failure-to-train claim against Sheriff Caruana. (See First Am. Comp. at 6–7.)          A second

amended complaint [22], filed on July 10, 2023, terminated Caruana as a defendant and replaced

“unknown correctional officers” with the names of nine correctional officer defendants. (See

Second Am. Comp. at 1.) He filed a third amended complaint [39] [44] on January 5, 2024,

terminating all but two correctional officers (Rivera and Roberson) as Defendants, and adding, for

the first time, “The University of Illinois College of Medicine Correctional Health Care Services”

(“the University”) as a defendant. (See Third Am. Comp. at 1.) Finally, Plaintiff filed the fourth

amended complaint on May 28, 2024, removing the University as a defendant and naming the

individual Medical Defendants. (FAC at 1.) In the FAC, Count I brought deliberate indifference

claims under § 1983 against the Correctional Defendants; Count II raised the same constitutional

claims against the Medical Defendants; and Count III brought state law medical malpractice

claims against the Medical Defendants. (See generally FAC at 5–10.) The Medical Defendants

moved to dismiss Counts II and III (the claims against them) under Rule 12(b)(6) on August 13,

2024. (See Mot. to Dismiss at 1.) The Correctional Defendants moved for summary judgment

for failure to exhaust on August 22, 2024. (Mot. for Summ. J. at 1.) The motions are now fully

briefed.

                                      LEGAL STANDARDS

I.       Motion to Dismiss

         A motion to dismiss under Rule 12(b)(6) tests the sufficiency of the complaint “by arguing

that it fails to state a claim upon which relief may be granted.” Firestone Fin. Corp. v. Meyer, 796

F.3d 822, 825 (7th Cir. 2015). The Medical Defendants argue that Counts II and III of the FAC

must be dismissed because Plaintiff’s action against them is barred by the two-year statute of

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limitations. In general, “dismissal under Rule 12(b)(6) is irregular, for the statute of limitations is

an affirmative defense.” Chi. Bldg. Design, P.C. v. Mongolian House, Inc., 770 F.3d 610, 613 (7th

Cir. 2014) (quoting United States v. N. Tr. Co., 372 F.3d 886, 888 (7th Cir. 2004)) (alterations

omitted). At the pleading stage, dismissal for failure to comply with the statute of limitations is

appropriate only where a plaintiff “affirmatively plead[s] himself out of court” by making allegations

in the complaint that “plainly reveal that the action is untimely under the governing statute of

limitations.” Id. at 614 (quoting United States v. Lewis, 411 F.3d 838, 842 (7th Cir. 2005))

(alterations omitted).

II.      Summary Judgment

         “Summary judgment is appropriate if there is no genuine dispute as to any material fact,

and the moving party is entitled to judgment as a matter of law.” Dunderdale v. United Airlines,

Inc., 807 F.3d 849, 853 (7th Cir. 2015) (citing FED. R. CIV. P. 56(a)). A genuine issue of material

fact exists only if “there is sufficient evidence favoring the nonmoving party for a jury to return a

verdict for that party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986).

                                             DISCUSSION

I.       Statute of Limitations

         The applicable statute of limitations for Plaintiff’s claims is not in dispute. Count II alleges

deliberate indifference claims against each of the Medical Defendants for their roles in Plaintiff’s

medical treatment while incarcerated at WCJ, actionable under 42 U.S.C. § 1983. See supra

p. 6. The statute of limitations for § 1983 claims is borrowed from the state statute of limitations

for personal injury actions where the alleged injury occurred. Ashafa v. City of Chicago, 146 F.3d

459, 461 (7th Cir. 1998). Accordingly, “the limitations period applicable to all § 1983 claims

brought in Illinois is two years, as provided in 735 ILCS 5/13–202.” Woods v. Ill. Dep’t of Child. &

Fam. Servs., 710 F.3d 762, 768 (7th Cir. 2013). Count III alleges that the Medical Defendants

breached their duty of care under Illinois law in providing medical care to Plaintiff; it is subject to

the two-year statute of limitations for medical malpractice claims in Illinois. 735 ILCS 5/13-22.

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        The allegations in the FAC describe conduct between December 23, 2021 (when Plaintiff

was injured in a car accident) and February 24, 2022 (Plaintiff’s final allegation that Roberson

observed his physical condition but “no medical intervention was done”). (See FAC ¶¶ 4, 18.)

Assuming, as do the Medical Defendants, that the clock for filing this action started as late as

possible—February 24, 2022—Plaintiff had until February 24, 2024, to bring timely constitutional

and medical malpractice claims against Defendants. (See Med. Defs.’ Mem. [85] at 5.) Plaintiff’s

original complaint was timely filed on December 22, 2022, but named only Sheriff Gary Caruana

and “unknown correctional officers” as defendants. (See Comp. at 1.) The second amended

complaint, also filed within the statute of limitations on January 5, 2024, replaced “unknown

correctional officers” with nine named officers, including Defendants Rivera and Roberson.

(Second Am. Comp. at 1.) The third amended complaint terminated seven of the nine named

officers and Sheriff Caruana as defendants, and added “University of Illinois College of Medicine

Correctional Health Care Services” as a defendant in the case. (Third Am. Compl. at 1.) The

individual Medical Defendants were not named until Plaintiff’s fourth amended complaint filed on

May 28, 2024, after the two-year statute of limitations had elapsed. It thus appears on the face

of the FAC that Plaintiff’s claims against the Medical Defendants were brought outside the statute

of limitations.

        Plaintiff “acknowledges that the statute of limitations time has passed since filing the

original complaint” but urges that allegations against the medical defendants in the FAC “relate

back” to the original complaint and are thus timely. (See Pl.’s MTD Opp’n [100] at 2.) He further

contends that the statute of limitations should be tolled because “Plaintiff’s position of being an

inmate within the care and custody of Defendants limited his ability to get knowledge” of the

Medical Defendants’ proper identities. (See id. at 3.)




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       C.      Relation Back

       Federal Rule of Civil Procedure 15(c)(1)(C) 3 provides that an amendment to a pleading

that “changes the party or the naming of the party against whom a claim is asserted” relates back

to the date of initial pleading if, within the time period for service set by Rule 4(m), the parties

brought in by the amendment (i) “received such notice of the action that [they] will not be

prejudiced in defending on the merits” and (ii) “knew or should have known that the action would

have been brought against it, but for a mistake concerning the proper part[ies]’s identit[ies].” FED.

R. CIV. P. 15(c)(1)(C). 4 Here, the Medical Defendants do not assert under (i) that they will be

prejudiced in their ability to defend the case on the merits. Rather, the only question for the court

to resolve is whether Plaintiff’s naming of “unknown correctional officers” in the original complaint

or, alternatively, “University of Illinois College of Medicine Correctional Health Care Services” in

the third amended complaint were “mistake[s]” under the meaning of Rule 15(c)(1)(C)(ii), such

that the Medical Defendants “knew or should have known” that the action was really against them.

       Beginning with Plaintiff’s naming of “unknown correctional officers” in the original

complaint, the Seventh Circuit has provided clear guidance that the naming of an anonymous or

unknown defendant is not a “mistake” that allows for a later amendment to relate back. See King

v. One Unknown Fed. Corr. Off., 201 F.3d 910, 914 (7th Cir. 2000) (naming of “unknown federal



       3
               Rule 15(c)(1)(A) also allows for an amendment to relate back to the date of initial
pleading when “the law that provides the applicable statute of limitations allows relation back.”
FED. R. CIV. P. 15(c)(1)(A). In this case, that would be the Illinois relation back statute, 735 ILCS
5/2-616. As Plaintiff notes, the Illinois statute is modeled after Rule 5(c), and Illinois courts look
to federal case law in applying it. See Borchers v. Franciscan Tertiary Province of Sacred Heart,
Inc., 2011 IL App (2d) 101257 ¶ 45, 962 N.E.2d 29, as modified on denial of reh’g (Feb. 28, 2012).
The court thus addresses the state and federal grounds for relation back concurrently.
       4
                Rule 15(c)(1)(C) also requires, as a prerequisite, that the amendment bringing in
a new party “asserts a claim or defense that arose out of the conduct, transaction, or occurrence
set out--or attempted to be set out—in the original pleading.” FED. R. CIV. P. 15(c)(1)(C) (referring
to FED. R. CIV. P. 15(c)(1)(B)). There can be no dispute that this requirement is satisfied here,
however, as Plaintiff’s claims against the Medical Defendants arise directly from his medical
treatment at WCJ described in his original complaint. (See Comp. ¶¶ )


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correctional officer” as defendant was not “mistake” for relation back provision of Rule

15(c)(1)(C)); Worthington v. Wilson, 8 F.3d 1253, 1257 (7th Cir. 1993); Wood v. Worachek, 618

F.2d 1225, 1230 (7th Cir. 1980). The Seventh Circuit reaffirmed this in Herrera v. Cleveland, 8

F.4th 493 (7th Cir. 2021). The plaintiff brought a § 1983 action against three correctional officers

who allegedly failed to protect him from an assault and denied him medical care. Herrera, 8 F.4th

at 494. The plaintiff filed his original complaint within the statute of limitations but, lacking

knowledge of the names of the officers, named each defendant as “John Doe” as a nominal

placeholder. Id. Later, after the statute of limitations had run, plaintiff sought to amend his

complaint to include the proper names of the correctional officer on the theory that his naming of

the correctional officers as “John Doe” was a “mistake” under the meaning of Rule 15(c)(1)(C)(ii).

Id. at 495. The district court allowed the amendment, but the Seventh Circuit reversed. It held

that “naming a defendant as John Doe in the complaint is not based on an error, misconception,

misunderstanding, or erroneous belief” or “a mere slip of the pen,” but rather “an intentional and

informed decision [that] cannot amount to a mistake.” Id. at 498 (quotation omitted). Plaintiff

Herrera’s intentional choice to use a nominal placeholder was not a “mistake” for the purposes of

relating untimely amendments back to the original filing date. Id. Herrera applies directly in this

case; Plaintiff used “unknown correctional officers” as an intentional placeholder in his original

complaint, and it cannot serve as the basis for relation back under Rule 15(c)(1)(C)(ii).

       Plaintiff argues in the alternative that his naming of the Medical Defendants in the FAC

relates back to the third amended complaint where he named “University of Illinois College of

Medicine Correctional Health Care Services” as a defendant. (Pl.’s MTD Opp’n at 2.) That

argument also fails. “University of Illinois College of Medicine Correctional Health Care Services”

is not a nominal placeholder in the same way that “unknown correctional officers” is, but Herrera

makes clear that the naming of an improper defendant to account for a lack of knowledge is not

the same as a mistake resulting from a lack of knowledge. Herrera, 8 F.4th at 499 (“Naming a

John Doe defendant as a nominal placeholder is not a wrong action proceeding from inadequate

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knowledge; it is a proper action on account of inadequate knowledge.”). This is not a case of

mistaken identity; Plaintiff did not confuse “University of Illinois College of Medicine Correctional

Health Care Services” with Defendants Corrigan, Jensen, Kenton, King, or Saldana.            Rather,

Plaintiff was aware that “he had a lack of knowledge about who was involved in his treatment”

and named the University as a substitute for the medical professionals. (Pl.’s MTD Opp’n at 4;

see also Third Am. Comp. at 7 ¶ 32 (“[the College] was represented by its employees Doctor K.

Lee and various nurses and nurse practitioners whose identities cannot be ascertained . . . .”).) 5

If not literally, the naming of the University as a defendant was a functional placeholder for the

then-unknown medical providers, and Herrera applies with full force.

       Plaintiff does not address any of the Seventh Circuit precedents discussed above, instead

relying on the rationale of Borchers v. Franciscan Tertiary Province of Sacred Heart, Inc., 2011 IL

App (2d) 101257, 962 N.E.2d 29, as modified on denial of reh’g (Feb. 28, 2012), to these facts.

(Pl.’s MTD Opp’n at 3.) In Borchers, the plaintiff brought claims against her former employer

“Mayslake” and “unknown persons” under the Electronic Communications Privacy Act, claiming

that Mayslake employees had unlawfully accessed her personal email account. 2011 IL App (2d)

101257, ¶ 1; 962 N.E.2d at 32. Later, after the statute of limitations had run, the plaintiff sought

to amend her complaint and add the names of two Mayslake employees, Frigo (her former boss)

and Maxwell (Frigo’s assistant), whom she determined were involved in the alleged unlawful

conduct. Id. In determining whether plaintiff’s attempted addition of the named individuals related

back to the original complaint, the Illinois appellate court interpreted the Supreme Court’s opinion


       5
                Importantly, while Plaintiff may not have known the names of the Medical
Defendants at the time of the third amended complaint, he did not lack knowledge about the
treatment he received or harbor misimpressions about the Medical Defendants’ roles in his
treatment. Cf. Krupski v. Costa Crociere S. p. A., 560 U.S. 538, 549 (2010) (holding that Rule
15(c)(1)(C) may apply where a plaintiff “harbor[s] a misunderstanding about [defendant’s] status
or role in the events giving rise to the claim at issue” and sues a different defendant “based on
that misimpression”). The factual allegations in the FAC are identical to the allegations described
in the third amended complaint, only with the defendant’s proper names added. Indeed, Plaintiff
identifies Defendant Dr. Lee as his treating physician in the third amended complaint but does not
name him as a defendant. (Second Am. Comp. at 9 ¶ 28.)

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in Krupski v. Costa Crociere S. p. A., 560 U.S. 538 (2010), where the plaintiff sued for injuries she

suffered while aboard a cruise ship, naming the cruise-ship operator’s marketing subsidiary.

When she later named the correct defendant—the cruise-ship operator—the Supreme Court held

that her untimely amendment related back to her “mistake” in the initial action. See 560 U.S. at

554–55. The Borchers court read Krupski as adopting a broad definition of “mistake” under Rule

15(c)(1)(C)(ii) (and 735 ILCS 5/2-616(d)) that includes circumstances in which a plaintiff fails to

name a defendant because of “a lack of knowledge about the identity of all of those involved in

the alleged wrongdoing.” Borchers, 2011 IL App (2d) 101257, ¶ 52, 962 N.E.2d at 48–49. Under

that broad definition, the Borchers court allowed the untimely amendment that named two new

defendants, reasoning that the amendments related back to the original complaint, which named

only “unknown persons” as individual defendants. See id. ¶¶ 20, 52; 962 N.E.2d at 37, 48–49.

But Borcher’s expansive interpretation of Krupski appears to be squarely inconsistent with

Herrera, where the plaintiff argued for a similarly broad interpretation of Krupski (one that had

been adopted by several federal district courts), and the Seventh Circuit rejected it. See 8 F.4th

at 497–98. Instead, in a lengthy analysis, the Seventh Circuit explained how Krupski “did not alter

the definition of mistake under Rule 15(c)” and instead confirmed that the naming of a nominal or

placeholder defendant is not a “mistake” under the meaning of the rule. Id.; see also Salameh v.

MTF Club Operations Co., Inc., No. 21 CV 4080, 2021 WL 4951529, *4 (N.D. Ill. Oct. 25, 2021)

(noting conflict between Borchers and Herrera).

       Indeed, it is useful to contrast the asserted “mistake” in this case from the mistake that the

Supreme Court held did allow for relation back in Krupski. There, the plaintiff initially named a

marketing subsidiary, Costa Cruise Lines, as defendant because that was the entity named on

her cruise ship ticket, whom she reasonably believed to operate the ship. See 560 U.S. at 541–

42. She later discovered that Costa Cruise Lines was was merely a subsidiary marketing agent

of the company, Costa Crociere, that actually owned and operated the vessel. Id. at 543. The

plaintiff’s later naming of Costa Crociere as the defendant related back to the original complaint—

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despite the lower court’s finding that plaintiff “either knew or should have known of the proper

party’s identity”—because Plaintiff’s misunderstanding of the parties’ roles was a mistake and

Costa Crociere, as the parent company, had notice that the action brought against its marketing

subsidiary was really a claim against itself. Id. at 549–550. Thus, as Herrera explains, the mistake

in question was not purely the plaintiff’s lack of knowledge; plaintiff’s lack of knowledge led to a

misunderstanding of the respective roles of the parent and subsidiary and the “wrong action” of

naming of an improper defendant.             Herrera, 8 F.4th at 498–99.            Here, there is no

misunderstanding or wrong action stemming from Plaintiff’s lack of knowledge of certain names.

        Of course, Illinois courts are free to interpret section 2-616(d) differently than the Seventh

Circuit interprets Rule 15(c). See FED. R. CIV. P. 15(c)(1)(A); see also supra p. 9 n. 3. But

Borchers based its interpretation of § 2-616(d) entirely on federal case law (and state court

interpretation of federal cases), making it likely that an Illinois court returning to this question post-

Herrera will come out differently. See Salameh, 2021 WL 4951529, at *4 (“I conclude that Illinois

courts interpreting § 2-616(d) today would follow suit and find that plaintiffs’ inadequate

knowledge of [defendant’s] identity was not a mistake.”) Indeed, at least one Illinois appellate

court has cast doubt on whether Borchers is good law in the wake of Herrera. See Dalessandro

v. Quinn-Dalessandro, 2023 IL App (1st) 211119, ¶ 53, 225 N.E.3d 643 (referring to plaintiff’s

reliance on Borchers as a “problem[]” because it has “been called into question” by Herrera).

        Notably, a more recent Illinois case appears to be a closer match to this one and suggests

that Plaintiff is not entitled to relate back under § 2-616(d). In Redmond v. Galvan, 2022 IL App

(1st) 210653, 224 N.E.3d 246, the plaintiff’s father was allegedly wrongfully resuscitated by

doctors employed by University of Illinois & Health Sciences System (“Hospital”). 2022 IL App

(1st) 210653, ¶ 1, 224 N.E.3d at 249. He then brought a medical malpractice suit in state court

within the two-year statute of limitations, naming the Hospital as the defendant. Id. After the

Hospital moved to dismiss on jurisdictional grounds (as a state entity, the Hospital could only be

sued in the Illinois Court of Claims), the plaintiff sought to amend the complaint, naming the

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individual doctors as defendants, but the trial court dismissed the claims against them as barred

by the statute of limitations. Id. Affirming, the Illinois appellate court held that plaintiff’s failure to

name the doctors in the initial complaint was not a mistake within the meaning of § 2-616(d). Id.

¶¶ 2–3, 224 N.E.3d at 249. The court explained that “[t]his is not a case where plaintiff meant to

sue the individual doctors but inadvertently sued the Hospital in a case of mistaken identity”;

instead, “the Hospital was a perfectly appropriate party to hold accountable—it was just one that,

it so happened, could not be sued in circuit court.” Id. ¶ 34, 224 N.E.3d at 253. Accordingly, “[t]he

doctors . . . could not possibly have considered the situation to be one of literal mistaken identity”

and thus were not on notice that the action was intended to be against them. Id. The original

complaint properly identified the doctors’ roles in their treatment of the Plaintiff and “the doctors

could not have reasonably believed that the plaintiff did not understand that they were physicians.”

Id. ¶ 36, 224 N.E.3d at 253–54. In short, “the[] doctors would have no reason to think that their

omission as party-defendants in the original complaint was due to anything but a conscious choice

by plaintiff.” Id. ¶ 43, 224 N.E.3d at 255.

        The procedural posture here supports a similar conclusion.               Plaintiff’s (timely) third

amended complaint clearly identified the different treatments he received at WCJ, and even

identified one physician, Dr. Lee, by name—but named only the University and two correctional

officers as Defendants. He filed a fourth amended complaint, replacing the University with named

providers, only after the University invoked sovereign immunity. (See Univ. of Ill. Mot. to Dismiss

[51] ¶ 2.) Even if the court were to accept Borchers’ broad definition of “mistake” under Rule 15(c)

and § 2-616(d), there is no relation back unless the mistake is such that the Medical Defendants

“knew or should have known that the action would have been brought against [them], but for [the

mistake].” FED. R. CIV. P. 15(c)(1)(C)(ii). As Redmond shows, where there is no indication from

the complaint that the plaintiff has mistaken identities, misunderstood the roles of different actors,

or misnamed a party, a possible defendant that is mentioned in the complaint does not have



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reason to know that they should be or will be a party to the case. This defeats any attempt to

relate Plaintiff’s claims against the Medical Defendants back to the third amended complaint.

        D.      Equitable Tolling

        Plaintiff asks the court to “recognize that he had limited control, knowledge, and authority

to get all necessary information needed to file his complaint.” (Pl.’s MTD Opp’n at 4.) He

maintains that he “did his due diligence in timely filing his complaint . . . and subsequently added

the additional names when the names were acquired.” (Id.) Though Plaintiff does not use the

term, this is an argument for equitable tolling of the statute of limitations.

        For Plaintiff’s federal and state law claims alike, the court applies Illinois equitable tolling

doctrines. Bryant v. City of Chicago, 746 F.3d 239, 243 (7th Cir. 2014) (“Because we apply

Illinois’s statute of limitations, we also apply Illinois’s equitable tolling principles [in § 1983

cases]”); Indep. Tr. Corp. v. Stewart Info. Servs. Corp., 665 F.3d 930, 935 (7th Cir. 2012) (for

motions to dismiss state law claims on statute of limitations grounds, “we apply state law regarding

the statute of limitations and any rules that are an integral part of the statute of limitations, such

as tolling and equitable estoppel”) (quotations omitted). Under Illinois law, equitable tolling

“permits a court to excuse a plaintiff’s failure to comply with a statute of limitations where because

of disability, irremediable lack of information, or other circumstances beyond his control, the

plaintiff cannot reasonably be expected to file suit on time.” Hart v. Loan Kieu Le, 2013 IL App

(2d) 121380, ¶ 5, 995 N.E.2d 1002 (quoting Williams v. Bd. of Rev., 948 N.E.2d 561, 567, 241

Ill.2d 352 (2011)) (internal quotation omitted). Equitable tolling does not require a showing of fault

on the part of the defendant. Am. Fam. Mut. Ins. Co. v. Plunkett, 2014 IL App (1st) 131631, ¶ 32,

14 N.E.3d 676. But it does require a showing of due diligence on the part of the plaintiff. Hart,

2013 IL App (2d) 121380, ¶ 5, 995 N.E.2d at 1004.

        Plaintiff in this case has not made a credible argument that a disability, irremediable lack

of information, or circumstances beyond his control prevented him from learning the names of the

Medical Defendants within the statute of limitations period. The only argument he offers on this

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score is that he “was a prisoner and had limited knowledge.” (Pl.’s MTD Opp’n at 4.) But while

courts have recognized tolling given the precarious circumstances for pro se prisoner plaintiffs,

see Bryant, 746 F.3d at 243 (citing Donald v. Cook Cnty. Sheriff’s Dep’t, 95 F.3d 548, 562 (7th

Cir. 1996), Plaintiff has been represented by capable counsel for the entirety of this case. (See

Comp. at 1.) Plaintiff’s attorney has been active in filing amended pleadings and has had the

opportunity to engage in discovery to determine the names of unknown individuals. For example,

though the original complaint named “unknown correctional officers,” Plaintiff’s counsel was able

to obtain Rule 26.1(a) disclosures providing the names of Defendants Roberson and Rivera well

within the statute of limitations period. (See Mot. [24] ¶¶ 1–2.) After naming the University as a

defendant, counsel sought information concerning the identity of the individual providers by way

of an informal request on March 15, 2024, and then, in response to the University’s request, by

serving formal interrogatories on March 26, 2024. (See Joint Status Rep. [55] ¶¶ 2–3.) The

University responded to these interrogatories, providing the names of the providers, on April 26,

2024. (Joint Status Rep. [63] ¶ 1.) The problem for Plaintiff is that he added the University as a

defendant only a month before the two-year statute of limitations elapsed, and then served his

requests for information after the statute of limitations had expired. These steps could have been

taken sooner, and Plaintiff has not shown that circumstances “beyond his control” prevented him

from learning the identity of the hospital or naming it in an amended complaint earlier in the

litigation. Hart, 2013 IL App (2d) 121380, ¶ 5, 995 N.E.2d at 1004.

          Because neither relation back nor equitable tolling brings Plaintiff’s naming of the Medical

Defendants within the statute of limitations period, Plaintiff’s claims against the Medical

Defendants must be dismissed.

II.       Failure to Exhaust

          The Correctional Defendants, separately, move for summary judgment on the grounds

that Plaintiff failed to exhaust the administrative remedies provided by WCJ’s grievance process

before commencing his lawsuit. The PLRA provides that “[n]o action shall be brought with respect

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to prison conditions under section 1983 of this title . . . by a prisoner . . . until such administrative

remedies as are available are exhausted.” 42 U.S.C. § 1997e(a). Exhaustion requires that the

prisoner “take each of the steps prescribed by the state’s administrative rules governing prison

grievances.” Williams v. Rajoli, 44 F.4th 1041, 1045 (7th Cir. 2022) (quoting Chambers v. Sood,

956 F.3d 979, 983 (7th Cir. 2020)). “But a prisoner needn’t exhaust a remedy that’s ‘unavailable,’

such as when ‘prison employees do not respond to a properly filed grievance or otherwise use

affirmative misconduct to prevent a prisoner from exhausting.’” Id. (quoting Dole v. Chandler, 438

F.3d 804, 809 (7th Cir. 2006). Failure to exhaust is an affirmative defense, and the burden of

proof is on the Correctional Defendants to prove that Plaintiff did not exhaust the remedies

available to him at WCJ. See Ramirez v. Young, 906 F.3d 530, 533 (7th Cir. 2018).

        The Correctional Defendants assert that there is no dispute of material fact that

administrative remedies for Plaintiff’s complaints against Rivera and Roberson were available to

Plaintiff and that he did not use them. WCJ had a grievance process outlined in the “inmate

handbook” that allowed inmates to submit medical requests, medical grievances, and general

grievances through accessible tablets and kiosks. (See Pl.’s Am. Resp. to DSOF ¶¶ 35–36.)

Plaintiff appears to dispute that he was instructed on the grievance process (see id. ¶¶ 30–31),

but it is undisputed that he submitted sixteen medical requests and a formal medical grievance

through WCJ’s grievance process during the relevant period of his injuries. (See id. ¶¶ 40–63;

see also generally Grievance Files (records of Plaintiff’s dozens of requests and grievances

during his incarceration at WCJ).) In Plaintiff’s formal medical grievance, and following appeal,

Plaintiff details how he “notified the medical department and explain[ed]” his medical condition,

but does not mention any correctional officers or refer to his claims against them. (See Pl.’s Resp.

to DSOF ¶¶ 56–57.) Plaintiff filed no separate grievance against the Correctional Defendants.

Thus, because WCJ’s grievance procedures were available and Plaintiff did not use them to

challenge Rivera or Roberson’s conduct, they argue he did not exhaust his administrative

remedies as required by the PLRA.

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        Defendants liken this case to King v. Dart, 63 F.4th 602 (7th Cir. 2023), where a pre-trial

detainee brought § 1983 claims against a correctional officer (“Szul”) who failed to facilitate

treatment for the plaintiff after the plaintiff requested medical attention for a severe burn. 63 F.4th

at 604. The plaintiff filed formal grievances against a “Sgt. Heinz” and “Medical Staff” for failure

to provide him adequate medical care but did not mention Szul in his grievances. Id. The Seventh

Circuit affirmed the trial court’s dismissal of the plaintiff’s claim against Szul for failure to exhaust,

reasoning that though “King had filed a grievance and appealed the Jail’s response, the

allegations of the grievance did not give the Jail proper notice of his claim against Szul.” Id. at

608. Because King’s grievance “did not even mention Szul” and “stated only that medical staff

were liable for [King’s] injuries,” the court found that “the allegations in the grievance do not

support the claim he pursued in this lawsuit” and did not satisfy the exhaustion requirement. Id.

The same reasoning applies here. A prisoner may not need to name every individual wrongdoer,

so long as the grievance provides ample notice of the nature of his claim. Here, however,

Plaintiff’s formal medical grievance would have put WCJ’s medical staff on notice of his potential

claims against his providers, but his grievance neither named nor mentioned his claim that

correctional officers ignored his need for medical attention. Plaintiff’s medical requests and

grievance thus would not have put WCJ officials on notice that prison staff had violated his rights. 6

        In his opposition to the motion for summary judgment, Plaintiff largely focuses on the

merits of his constitutional claims against the Correctional Defendants (see generally Pl.’s MSJ

Opp’n [99].) His situation is indeed sympathetic, but the merits of his claims are not relevant to

the exhaustion question. See Pavey v. Conley, 544 F.3d 739 (7th Cir. 2008), as amended on

denial of reh’g and reh’g en banc (Sept. 12, 2008) (“[I]n the ordinary case discovery with respect



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              It is also worth reminding that the Correctional Defendants have provided
undisputed testimony that medical requests and grievances are sent directly to the WCJ medical
department operated by the University of Illinois College of Medicine—the correctional staff that
would review grievances against correctional officers did not have access to Plaintiff’s medical
grievance and could not be put on notice of any potential claim. (See DSOF ¶ 43.)

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to the merits should be deferred until the issue of exhaustion is resolved.”) Noting this, the court

ordered Plaintiff to amend his responses to the motion for summary judgment to respond to the

failure to exhaust argument. (Minute Order [101] at 1.) Plaintiff did so by adding two paragraphs

to his declaration and amended Rule 56.1(b)(3) statement, the only material addition being the

claim that

       Defendants Rivera and Roberson, when asked by me to reach out to their superior
       officers, so that I can speak to their superior officer regarding my treatment and
       physical condition, responded by saying that the procedure was to talk to medical
       and not the superior officer. This is the reason why I did not file any grievances
       against Rivera and Roberson, I was told that any grievances should be towards
       medical not the officers.

(Pl.’s Am. Resp. to DSOF ¶ 80.) This last-second allegation alone does not create a material

dispute over whether Plaintiff exhausted administrative remedies. Plaintiff did not provide an

amended memorandum, but the court understands the Plaintiff to be asserting that his failure to

file a grievance against the Correctional Defendants should be excused because Rivera and

Roberson told him to “talk to medical” at an unspecified date and time. A defendant’s “affirmative

misconduct” can excuse the exhaustion requirement where it actually prevents Plaintiff from using

available administrative remedies, see Williams, 44 F.4th at 1045, but the alleged statements by

Rivera and Roberson do not amount to anything like affirmative misconduct. As Plaintiff himself

alleges, he asked to speak to a superior officer about “treatment and physical condition,” not a

complaint of officer misconduct—Rivera and Roberson would reasonably have directed Plaintiff

towards the medical staff for such medical concerns. But even if Plaintiff’s question could be

construed as stating an intention to complain about the Correctional Defendants’ conduct,

Plaintiff’s new allegation does not explain why Plaintiff could not mention the Correctional

Defendants, or any correctional officer, in his many medical requests and formal grievance.

Plaintiff may have raised a material dispute had he included a hint of his claims against the

Correctional Defendants in his formal grievance, but he did not. The first indication of Plaintiff’s

claims against the correctional officers was his complaint, “and federal courts lack discretion to


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consider a claim that has not traveled the required administrative path.” Bowers v. Dart, 1 F.4th

513, 518 (7th Cir. 2021).

                                         CONCLUSION

       Defendants Corrigan, Jessen, Lee, King, and Saldana’s motion to dismiss Counts II and

II of the FAC [84] is granted. Defendants Rivera and Roberson’s motion for summary judgment

[90] is granted. The Clerk is directed to enter judgment in favor of Defendants.




                                             ENTER:




Dated: March 21, 2025                        _________________________________________
                                             REBECCA R. PALLMEYER
                                             United States District Judge




                                               20
